        Case 1:11-cr-00141-BLW Document 229 Filed 12/10/13 Page 1 of 2




                          UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF IDAHO



UNITED STATES OF AMERICA,
                                                   Case No. 1:11-cr-00141-BLW
             Plaintiff,
                                                   ORDER ADOPTING REPORT
      v.                                           AND RECOMMENDATION

JOSE GREGORIO VALENZUELA-FAVELA,

             Defendant.


      Before the Court is a Report and Recommendation filed by the United States

Magistrate Judge. (Dkt. 214). On October 21, 2013, Defendant JOSE GREGORIO

VALENZUELA-FAVELA appeared before the Magistrate Judge to enter a change of

plea (pursuant to a written plea agreement). The Magistrate Judge conducted the plea

hearing and concluded there is a factual basis for Defendant’s admission to forfeiture and

plea of guilty to the charges contained in Count One of the Amended Superseding

Indictment (Dkt. 210), and that they were entered voluntarily and with full knowledge of

the consequences. No objections to the Report and Recommendation have been filed.

      The Court now has reviewed the record, and finds that the requirements of Rule 11

have been met. See United States v. Reyna-Tapia, 328 F.3d 1114 (9th Cir. 2003).

Specifically, the Court finds that the Magistrate Judge adhered to the requirements of

Rule 11(b); that under Rule 11(b)(2), the Defendant’s plea was voluntary and not the




ORDER ADOPTING REPORT AND RECOMMENDATION - 1
        Case 1:11-cr-00141-BLW Document 229 Filed 12/10/13 Page 2 of 2




result of force or threats or promises apart from the plea agreement; and that a factual

basis for the plea exists. See id. Accordingly,

       NOW THEREFORE IT IS HEREBY ORDERED that the Report and

Recommendation (Dkt. 214) shall be, and the same is hereby, ADOPTED as the decision

of the District Court and incorporated fully herein by reference.

       IT IS FURTHER ORDERED that the Defendant’s plea of guilty to the crimes

charged in Count One of the Amended Superseding Indictment (Dkt. 210), shall be, and

the same is hereby, ACCEPTED by the Court as a knowing and voluntary plea supported

by an independent basis in fact containing each of the essential elements of the offense.

       IT IS FURTHER ORDERED that Defendant JOSE GREGORIO VALENZUELA-

FAVELA is found to be GUILTY as to the applicable crimes charged in the Amended

Superseding Indictment.(Dkt. 210).

                                   DATED: December 10, 2013



                                   B. LYNN WINMILL
                                   Chief U.S. District Court Judge




ORDER ADOPTING REPORT AND RECOMMENDATION - 2
